        Case 3:12-cv-04854-LB Document 1231 Filed 09/24/21 Page 1 of 3



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 6   Sutter Health

 7                                 UNITED STATES DISTRICT COURT

 8                              NORTHERN DISTRICT OF CALIFORNIA

 9                                     SAN FRANCISCO DIVISION

10

11    DJENEBA SIDIBE, et al.,                            Case No. 3:12-CV-4854-LB

12                       Plaintiffs,                     PROOF OF SERVICE

13           v.

14    SUTTER HEALTH, et al.,

15                       Defendants.

16

17
            I, Sherry D. Loving, declare:
18
            I am a citizen of the United States and employed in Cook County, Chicago, Illinois. I am
19

20   over the age of eighteen years and not a party to the within-entitled action. My business address

21   is 230 West Monroe Street, Suite 210, Chicago, Illinois 60606.

22          On September 24, 2021, I served a copy of the following documents:
23

24                •   DEFENDANT SUTTER HEALTH’S NOTICE OF INTENT TO FILE

25                    UNDER SEAL

26
                  •   DEFENDANT SUTTER HEALTH’S MOTION TO EXCLUDE
27

28                    OPINIONS OF DR. TASNEEM CHIPTY (Public Copy)

                                                                            PROOF OF SERVICE RE CHIPTY
                                                                                 Case No. 3:12-CV-4854-LB
       Case 3:12-cv-04854-LB Document 1231 Filed 09/24/21 Page 2 of 3



 1               •   DEFENDANT SUTTER HEALTH’S MOTION TO EXCLUDE
 2                   OPINIONS OF DR. TASNEEM CHIPTY (Under Seal)
 3

 4               •   DECLARATION OF SHAINA C. SHAPIRO IN SUPPORT OF

 5                   DEFENDANT SUTTER HEALTH’S MOTION TO EXCLUDE
 6                   OPINIONS OF DR. TASNEEM CHIPTY (Public Copy)
 7

 8               •   DECLARATION OF SHAINA C. SHAPIRO IN SUPPORT OF

 9                   DEFENDANT SUTTER HEALTH’S MOTION TO EXCLUDE
10                   OPINIONS OF DR. TASNEEM CHIPTY (Under Seal)
11

12               •   DECLARATION OF ROBERT D. WILLIG IN SUPPORT OF

13                   DEFENDANT SUTTER HEALTH’S MOTION TO EXCLUDE
14                   OPINIONS OF DR. TASNEEM CHIPTY (Public Copy)
15

16               •   DECLARATION OF ROBERT D. WILLIG IN SUPPORT OF

17                   DEFENDANT SUTTER HEALTH’S MOTION TO EXCLUDE
18                   OPINIONS OF DR. TASNEEM CHIPTY (Under Seal)
19

20          by transmitting these documents via electronic transmission.

21
            I am familiar with the U.S. District Court, Northern District of California practice for
22
     collection and processing electronic filings. Under that practice, documents are electronically
23

24   filed with the court. The court’s CM/ECF system will generate a Notice of Electronic Filing

25   (NEF) to the filing party, the assigned judge, and any registered users in the case. The NEF will

26   constitute service of the document. Registration as a CM/ECF user constitutes consent to
27   electronic service through the court’s transmission facilities.
28
                                                      -2-
                                                                             PROOF OF SERVICE RE CHIPTY
                                                                                  Case No. 3:12-CV-4854-LB
       Case 3:12-cv-04854-LB Document 1231 Filed 09/24/21 Page 3 of 3



 1          I certify under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct.
 3

 4          Executed on September 24, 2021, at Chicago, Illinois.

 5
                                          BY: _/s/ Sherry D. Loving         _
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                                                                            PROOF OF SERVICE RE CHIPTY
                                                                                 Case No. 3:12-CV-4854-LB
